                                       IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                               STATESVILLE DIVISION
                                            CASE NO. 5:13-CR-00053-RLV-3
                UNITED STATES OF AMERICA,               )
                                                        )
                       v.                               )                             ORDER
                                                        )
                DANIEL LEE FOSTER,                      )
                                                        )
                                  Defendant.            )
                                                        )

                            THIS MATTER IS BEFORE THE COURT on the Court’s own motion following

               Defendant’s Response (Doc. 462) to this Court’s Order (Doc. 461) requiring Defendant to indicate,

               by June 7, 2017, whether he wanted this Court to construe his Pro Se Motion to Vacate Enhanced

               Sentence (“Motion”) (Doc. 447) as a motion to vacate or set aside his sentence under 28 U.S.C.

               § 2255. In his response, Defendant stated that he did not recall the substance of his Motion and

               requested a copy of that document. (Doc. 462). On May 30, 2017, the Clerk mailed Defendant a

               copy of his Motion. To permit Defendant adequate time to review his Motion, the Court extends

               the deadline for Defendant to indicate whether he wants the Court to construe his Motion as a

               motion under 28 U.S.C. § 2255. Defendant shall now have until June 19, 2017 to file his response.

                            SO ORDERD.


Signed: June 2, 2017




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